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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                      CASE NO. 1:23-cv-22987

  UNITED STATES OF AMERICA,

                         Plaintiff,

  vs.

  APPROXIMATELY $21,248,434.25 IN U.S. CURRENCY,
  DEPOSITED WITH THE CLERK OF COURT OF THE
  UNITED STATES DISTRICT COURT FOR THE
  SOUTHERN DISTRICT OF FLORIDA, AND ENTERED AS
  TO NAMAN WAKIL WITH RECEIPT #FLS100234601,

                         Defendant in rem.
                                                                                 /

  IN RE:

  INGRID MARIA SAYEGH SAKKAL.

                 Claimant.
                                                                             /

                      STIPULATION AND SETTLEMENT AGREEMENT

         The United States of America (the “United States”) and Ingrid Maria Sayegh Sakkal

  through undersigned counsel (“Claimant”) (collectively, the “Parties”) hereby stipulate and agree,

  subject to the approval of this Court, as follows:

         1.      The Parties agree to resolve this matter consistent with the sound policy favoring

  settlement of legal disputes without resort to unnecessary litigation.

         2.      The Court has jurisdiction over the Parties, the defendant in rem, and the subject

  matter of this Stipulation and Settlement Agreement (the “Agreement”).

         3.      The terms of the Agreement are subject to the approval by the Court and any

  violation of any terms or conditions shall be construed as a violation of an order of the Court.
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         4.      On August 9, 2023, the United States filed a civil forfeiture complaint against

  Defendant In rem, Approximately $21,248,434.25 in U.S. currency, deposited with the Clerk of

  Court of the United States District Court for the Southern District of Florida, and entered as to

  Naman Wakil with receipt #FLS100234601 (“Defendant Asset”) (“Forfeiture Action”).

  Complaint, ECF No. 1.

         5.      Direct notice of the in rem civil forfeiture action was sent to any person who

  reasonably appeared to be a potential claimant with legal standing to contest the forfeiture, or such

  person was on actual notice of the forfeiture. In addition, notice of the civil forfeiture was posted

  on an official government internet site (www.forfeiture.gov) for a period of 30 days. 21 U.S.C.

  § 853(n)(1); Fed. R. Crim. P. 32.2(b)(6).

         6.      On October 25, 2023, Claimant timely filed a verified claim asserting an interest in

  the Defendant Asset. See Claim, ECF No. 9. Thereafter, Claimant filed a motion to dismiss the

  Forfeiture Action on March 1, 2024. See MTD, ECF No. 19.

         7.      No other claims or answers have been filed in this action, and pursuant to Rule G(5)

  of the Supplemental Rules of Certain Admiralty or Maritime Claims and Asset Forfeiture Actions

  and the Federal Rules of Civil Procedure (“Supplemental Rule G”), the time for filing a claim in

  this action has passed.

         8.      As of the end of June 2024, the value of the Defendant Asset, with interest, was

  approximately $23,078,472.39. The Defendant Asset will continue to accrue interest pending

  release to Claimant of 10% of the value of the Defendant Asset with interest, as described in

  paragraphs 10 and 13 below.

         9.      The Claimant agrees that the United States shall retain 90% of the value of the

  Defendant Asset, including interest (“Forfeiture Amount”). The Claimant further agrees to the



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  final forfeiture of the Forfeiture Amount.

         10.     The United States will make every effort to expedite its release of the remaining

  10% of the value of the Defendant Asset, including interest accrued through the date of payment,

  to Claimant (“Settlement Payment”) within 60 days after approval of this agreement by the Court.

         11.     The Agreement is conditioned upon the United States resolving all claims to the

  Defendant Asset and the United States obtaining an order of forfeiture that vests all right, title, and

  interest in the Defendant Asset to the United States (the “forfeiture of the Defendant Asset”).

         12.     The Claimant agrees to assist the United States and cooperate fully in all forfeiture

  proceedings involving the Defendant Asset, including, but not limited to, by consenting to all

  orders of forfeiture of the Defendant Asset; not contesting or impeding any criminal, civil or

  administrative forfeiture proceeding concerning the Defendant Asset; executing documents to

  implement further the terms of the Agreement; and notifying the United States if it learns of any

  condition that might affect the value of the Defendant Asset.

         13.     After the forfeiture of the Defendant Asset, the United States agrees that the

  Settlement Payment shall be made to the Claimant in full satisfaction of the Claimant’s claim to

  the Defendant Asset, including any interest arising from and relating to the Defendant’s seizure,

  detention, and forfeiture.

         14.     The Claimant, including her representatives, agents, heirs, relatives, and assigns,

  and the United States and all agents, officers, employees, and contractors thereof (hereinafter the

  “Released Parties”), hereby withdraw all claims and waive any answer and defense that the

  Released Parties have or might have relating to the investigation, seizure, and forfeiture of the

  Defendant Asset, including but not limited to any claim for lost profits, lost interest, or excessive

  fines under the Eighth Amendment of the United States Constitution.



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          15.     The Released Parties agree to release and hold harmless each other from all claims

  that currently exist or that may arise as a result of the United States’ actions against and relating

  to the Defendant Asset.

          16.     The undersigned counsel for the Claimant, who also represented the Defendant

  Naman Wakil (“Defendant”) in criminal case number 21-CR-20406-KMW in the Southern District

  of Florida before his passing, hereby represents he has reviewed and discussed the Agreement with

  the Claimant, and has advised her that the terms of the Agreement are in her best interests. The

  undersigned counsel for the Claimant and Defendant has also advised the Claimant as to any

  potential conflict of interest in regards to his current representation of her, and his former

  representation of the Defendant. The Claimant hereby knowingly and willfully waives any

  potential conflict of interest.

          17.     The Claimant acknowledges that the Debt Collection Improvement Act of 1996, as

  codified at 31 U.S.C. § 3716 and administered through the Treasury Offset Program (“TOP”),

  requires the United States Treasury to offset federal payments to collect certain delinquent debts

  owed by a payee to the United States, a United States agency, or a state. Accordingly, the Claimant

  acknowledges that the amount of the Settlement Payment may be reduced by the amount of any

  such delinquent debt that the United States Treasury is required to collect through TOP.

          18.     Each of the Parties agrees to bear its own costs and attorney’s fees.

          19.     The Claimant has read and fully understands each provision of the Agreement, and

  has freely and voluntarily signed the Agreement.

          20.     The Agreement may be executed in one or more counterparts, each of which when

  executed and delivered shall be an original, and all of which when executed shall constitute one

  and the same instrument.



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                                                                     the Parties.
           21.   The Agreement contains the entire agreement between



   FOR CLAIMANT:



    17 ,-- 1-2 02 ,f.
   Date                               Howard Srebnick
                                      Attorney for Claimant



   Date                               Ingrid Maria Sayegh Sakkal
                                      Claimant



   FOR THE UNITED STATES OF AMERICA:



                                       MARKENZY LAPOINTE
                                       United tates Attorney


     12/2/2024                                        for
    Date
                                                erger
                                       Assistan United States Attorneys




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